              Case 1:17-cv-00061-FYP-GMH Document 37-46 Filed 03/03/21 Page 1 of 2

                                                     EXHIBIT 46



        In rgen in Iraq Claim Con o A ack                                                         '); //­­>

        B MAAMOUN YOUSSEF
        The A ocia ed P e
        Th da , Jan a 18, 2007; 9:15 PM

        CAIRO, Eg p ­­ An al­Qaida­linked coali ion of I aqi S nni in gen claimed e pon ibili Th da fo an
        a ack in Baghdad on a con o of a We e n democ ac in i e ha killed a 28­ ea ­old Ohio oman and h ee
         ec i con ac o .

        The Wa hing on­ba ed Na ional Democ a ic In i e iden ified i lain affe a And ea Pa hamo ich of Pe ,
        Ohio. Con ac o f om H nga , C oa ia and I aq al o e e killed in he amb h Wedne da . T o o he people
         e e o nded, one e io l .

        Pa hamo ich, a g ad a e of Ma ie a College in o hea Ohio, had been o king i h NDI in I aq ince la e
        2006 a a comm nica ion peciali ad i ing I aqi poli ical pa ie on ho o each o o o e and
        con i en . She a helping "b ild he kind of na ional le el poli ical in i ion ha can help b idge he
         ec a ian di ide and imp o e I aqi li e ," NDI aid.

        In he al neighbo hood he e Pa hamo ich' pa en li e, Da id Rolfe of NDI and Pa hamo ich' b o he ­
        in­la , Joe Zampini, ood a a ch ch ac o he oad and a ked epo e no o app oach he famil ' home.
        Zampini appealed fo p i ac and aid he famil a in ecl ion.

        The comm ni of abo 1,100 people, abo 35 mile ea of Cle eland, i kno n fo i man flo e n e ie
        and g eenho e ha ake p ac e of land, a ell a being home o a Fi Ene g Co p. n clea po e plan .

        "I ' a ad ime," aid Pe High School p incipal Do g Jenkin , he middle chool p incipal hen Pa hamo ich
        a ended he enio high chool.

        Tom Pe , poke man fo Ma ie a College, kne Pa hamo ich hen he o ked in he libe al a           chool'
        media ela ion office a a den .

        "So i hi    a ha d a an bod he e beca e e kne he o ell," Pe           aid.

        "We a      ha an e cellen pe on he a , and he ob io l had a pa ion fo ome hing and an ed o go
         he e and be a pa of i ," Pe  aid. "We' e p o d he an ed o do hi . I ho i ' no j he oldie   ho
        a e in ha m' a ."

        Pe      aid Pa hamo ich, ho a kno n a Andi, g ad a ed in 2000 i h a deg ee in ad e i ing and p blic
         ela ion i h a mino in jo nali m. She o ked fo film compan Mi ama in Ne Yo k fo a ho ime, he
         aid.

        A a emen elea ed b NDI aid Pa hamo ich al o o ked in he Ma ach e go e no ' office, a Ai
        Ame ica Radio and a he In e na ional Rep blican In i e in I aq befo e joining NDI' Baghdad aff in la e
        2006.

        NDI' chai man, fo me Sec e a of S a e Madeleine K. Alb igh , aid, "The e i no mo e ac ed oll of hono
         han ho e ho ha e gi en hei la f ll mea e in ppo of f eedom. Ye e da , in I aq, And ea Pa hamo ich
        and o ec i pe onnel e e en h ined on ha li .

        "The did no ee hem el e a he oe , onl people doing a job on behalf of a ca e he belie ed in. The
          e e no he enemie of an one in I aq; he e e he e o help," Alb igh aid.




PARHAMOVICH V. IRAN                                                                                              PLA000256
1:17-CV-00061 (KBJ)
              Case 1:17-cv-00061-FYP-GMH Document 37-46 Filed 03/03/21 Page 2 of 2




       The in i e ppo democ a ic p oce e and in i          ion o ld ide. I  affe in Baghdad n aining
       p og am in democ ac and poli ical pa icipa ion, a   ell a omen' igh . The g o p ha had affe in I aq
        ince J ne 2003.

       G nmen opened fi e on he h ee­ ehicle con o on Wedne da in Ya mo k, a p edominan l S nni
       neighbo hood in e e n Baghdad.

       "P ai e be o God, in an a ack i h ligh and medi m eapon and RPG' in he Ya mo k a ea in Baghdad on
       Jan. 17, o SUV belonging o he Zioni Mo ad e e de o ed and a hi d one a e e el damaged," aid
       a a emen po ed Th da on an I lamic Web i e.

       The a emen a igned b he poke man of he "I lamic a e in I aq," he o­called I lamic go e nmen ha
       al­Qaida in I aq and e e al o he I aqi S nni A ab in gen g o p decla ed ea lie la ea . The a emen
         a po ed on a Web fo m he e S nni in gen of en elea e me age .

       A U.S. official aid ha he a emen ' a hen ici    co ld no be de e mined.

       I p po ed a ho _ I lamic a e in I aq _ i con ide ed al­Qaida in I aq' poli ical a m, aid he official, ho
       did no an o be iden ified beca e of he info ma ion' en i i i .

       C ea ion of he g o p in Oc obe a aken a a p opaganda mo e and a ignal of al­Qaida in I aq' in e e in
        nif ing all S nni jihadi   nde one mb ella, b he official aid ome S nni g o p ha en' emb aced he
       ne o gani a ion.

       In i Web a emen , he g o p did no a an hing abo ho man e e killed o hei na ionali ie , b al­
       Qaida   all efe o fo eigne     ho e na ionali ie i doe no kno a membe of he Mo ad, he I aeli
        p agenc .

       Pa hamo ich a he fi f ll­ ime o ke fo he g o p o be killed in I aq. A ec i        con ac o fo he
       o gani a ion a killed in Ma ch 2004.

       Acco ding o in ance claim on file a he Depa men of Labo , 770 ci ilian con ac o ha e been killed in
       I aq ince he a began in Ma ch 2003 h o gh Dec. 31 and 7,761 ci ilian con ac o ha e been inj ed. The
       con ac o incl de fo eign o ke .

       ___

       A ocia ed P e epo e Joe Milicia in Pe , Ohio, Connie Mabin and M.R. K opko in Cle eland and
       Ka he ine Sh ade in Wa hing on con ib ed o hi epo .

                                                2007 The A ocia ed P e




PARHAMOVICH V. IRAN                                                                                           PLA000257
1:17-CV-00061 (KBJ)
